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Case 4':‘121¥¢:\'_/*-00024-0 Document 39 Filed 05/19/14 Page 1 of 2 Page|D 925

UNITED STATES COURT OF APPEALS

United States Court oprpea|s

 

 

FOR THE FIFTH CIRCUIT F|LED
Apri| 23, 2014
No. 14-10252 Ly|e W. Cayce
C|erk
d

D.C. Docket No. 4:14-CV-24 w

 

KYEV PoMPA TATUM, sR.; ToNYA RooHELLE TA l UM)-M- H§Ejm`nym.

TATUM; HERSHEY ANN TATUM, ;i§§]§T OF TEXAS

Plaintiffs - Appellants MAY | 9 2[]|4

 

 

V.

 

 

TARRANT REGIoNAL WATER DlsTRloT; VIoToR . &l\il§§§sl§¥r?m COURT
JACK sTEVENs; MARTY LEoNARD; JIM LANE; M Y KELLEH)E»R;/

 

Defendants - Appellees

Appeal from the United States District Court for the
Northern District of Texas, Fort Worth

Before HIGGINBOTHAM, DAVIS, and HAYNES, Circuit Judges.
J U D G M E N T

This cause Was considered on the record on appeal and Was argued by
counsel.

lt is ordered and adjudged that the judgment of the District Court is
affirmed

lT IS FURTHER ORDERED that plaintiffs-appellants pay to
defendants-appellees the costs on appeal to be taxed by the Clerk of this
Court.

ISSUED AS MANDATE: Vr\AY 1 5 2014

 

New Orleans, Louisiana

   

      
     

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United States Court of Appeal

vJ

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FIFrH CIRCUIT CL LEF‘K Smcr OF TE><AS
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LYLE w. cAYcE TEL. 504-310-7700
cLERK 600 s. MAESTRI PLACE

NEW ORLEANS, LA 70130

May 15, 2014

Ms. Karen S. Mitchell

Northern District of Texas, Fort Worth
United States District Court

501 W. lOth Street

Room 310

Fort Worth, TX 76102

No. 14-10252 Kyev Tatum, Sr. , et al v. Tarrant Regional
Water Dist, et al j
USDC No. 4:14-CV-24 "C
Dear Ms. Mitchell,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.

Enclosed for the district court and counsel is the approved bill
of costs.
Sincerely,

LYLE W. CAYCE, Clerk

y:
Nancy F. Dolly, Deputy Clerk
504~310-7683

 

cc w/encl:
Mr. Michael L. Atchley ll
Mr. Lee Foster Christie
Mr. Russell Alan Devenport
Mr. Greg S. Hargrove
Mr. Donald E. Herrmann
Mr. Christopher D. Kratovil
Honorable Reed Charles O' Connor
Mr. Matthew Daniel Rinaldi
Mr. David John Schenck
Mr. Jeffrey Eric Whitfield

P.S. to Judge O'Connor: A copy of the opinion was sent to your
office via email the day it was filed.

